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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 MANETIRONY CLERVRAIN, et al.,                        )
                                                      )
                               Plaintiffs,            )
                                                      )
                       v.                             )       No. 1:21-cv-02918-TWP-DLP
                                                      )
                                                      )
 JAMIE DIMON, et al.,                                 )
                                                      )
                               Defendants.            )


                                              ENTRY

        On December 27, 2021, the Court struck Plaintiff's filings in this matter pursuant to a filing

 restriction entered against him in another case. (Filing No. 5). The Court ordered that any future

 submissions in this case shall be docketed in a miscellaneous case, for determination whether the

 documents should be accepted for filing. Plaintiff has appealed that order, but the proceedings in

 the district court in this case are at an end. Accordingly, this case is now CLOSED.



        SO ORDERED.

        Date: 1/27/2022


 Distribution:

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